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March 15, 2017 12:15 PM
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Hamilton County, Ohio
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THE CINCINNATI A 17 01483
INSURANCE COMPANY AN
OHIO C()RP()RATI
VS.
NATI()NAL UNI()N FIRE
INSURANCE COMPANY ()F
PITTSBURG

FILING TYPE: INITIAL FILING (OUT ()F COUNTY) WITH JURY
DEMAND

PAGES FILED: 45

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COURT OF COMMON PLEAS
HAMILTON COUNTY, OHIO
THE CINCINNATI INSURANCE : CASE NO.
COMPANY, an Ohio corporation :
6200 South Gilmore Road : (Judge )
Fairfield, OH 45014-5141 '
: COMPLAINT FOR DECLARATORY
Plaintiff, : JUDGMENT AND MONETARY
' RELIEF AND JURY DEMAND
vs.
CERTIFIED MAIL SERVICE

NATIONAL UNION FIRE INSURANCE RE§ !UESTED
COMPANY OF PITTSBURGH, Pa. '

175 Water Street

New York, NY 10038

Defendant.

Comes now Plaintiff, The Cincinnati lnsurance Company, by and through counsel, and
for its Complaint against Defendant National Union Fire Insurance Cornpany of Pittsburgh, Pa.,
states and alleges as folloWs:

THE PARTIES

l. Plaintiff The Cincinnati Insurance Company (“Cincinnati”) is a corporation
organized under the laws of the State of Ohio and is authorized by the state of Ohio to issue
insurance policies.

2. Defendant National Union Fire lnsurance Company of Pittsburgh, Pa (“National
Union”) is an insurance company organized and existing under the laws of the Commonwealth
of Pennsylvania, With its principal place of business in NeW York. National Union is authorized
to and is conducting business in the State of Ohio.

3. This is an action for declaratory judgment brought pursuant to Ohio Rule of Civil

Procedure 57 and Ohio Revised Code §2721.01 et seq. to determine the duties and obligations of

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the parties with regard to insurance contracts Cincinnati and National Union issued, under which
Wallick Properties Midwest, LLC (“Wallick”) was an insured for the underlying claim.
4. Cincinnati’s policy was issued to Wallick, an Ohio corporation, in the State of

Ohio through an Ohio insurance agency.

 

 

UNDERLYING CLAIM

5. On or about May 26, 2015, firefighters were dispatched to an apartment building
located at 6020 Dahlgren Street, Cincinnati, Hamilton County, Ohio 45227 in response to a
reported firc.

6. During the relevant time period, the building was owned by The Comrnunity
Builders, Inc. (“TCB”) and/or one of its subsidiaries

7. TCB hired Wallick as property manager for the building.

8. The Management Agreement entered between TCB and Wallick on November
15, 2012, provides in pertinent part as follows with regard to insurance:

Insurance. The Owner [TCB] Will inform the Agent [Wallicl<] of insurance to be
carried with respect to the Project and its operations and the Owner will cause
such insurance to be placed and kept in effect at all times The Agent will pay
premiums out of the Rental Agency Account and premiums will be treated as
operating expenses All insurance will be placed with such companies or such
conditions, in such amounts and with such beneficial interests appearing thereon
as shall be acceptable to the Owner and Consenting Parties and shall be otherwise
in conformity with the mortgage; provided that the same will include public
liability coverage, With the Agent designated as one of the insured, in
amounts acceptable to the Agent as well as the Owner and the Consenting
Parties. The Agent Will investigate and furnish the Owner With full reports as
to all accidents, claims and potential claims for damages relating to the
Project and will cooperate with the Owner’s insurers in connection
therewith

Emphasis added A true and accurate copy is attached as Exhibit A.

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9. A claim was brought on behalf of a firefighter who Was killed responding to the
fire at 6020 Dahlgren Street, Cincinnati, Ohio 45227, alleging TCB, Wallick and other entities
were liable for the firefighter’s death.

lO. The claim alleged TCB was liable as owner, manager and operator of the
building, and Wallick was alleged to be liable as having provided property management services
for the building.

ll. At all relevant times, Wallick was acting as a real estate manager for TCB for the
property at 602() Dahlgren Street.

12. Prior to suit being filed, the claim brought on behalf of` the firefighter was settled
with regard to the claims against Wallick.

l3. Settlement negotiations occurred in Hamilton County, Ohio, and settlement
checks were ultimately delivered in Hamilton County, Ohio.

14. There is a dispute between Cincinnati and National Union as to how the coverage
provided to Wallick by its insurance policies should be allocated, and priority of coverage. As
part of the settlement negotiations in Hamilton County, Ohio, Cincinnati and National Union
expressly reserved this allocation/priority of coverage issue for resolution by the Court after
settlement of the underlying claim.

INSURANCE POLICIES

15. Liberty Mutual lnsurance/American Economy Insurance Company issued a
Commercial Package Policy to Named Insured The Community Builders, Inc. (“TCB”), policy
no. 02-CE-232046-l, effective from May l, 2014 to May l, 2015. This policy is not attached

due to its size, but is available upon request

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l6. Liberty Mutual’s policy defined “insured” as including any person or organization
“while acting as your real estate manager.”

17. Liberty Mutual agreed Wallick Was an insured under the policy issued to TCB;
agreed its policy was primary; provided Wallick defense and indemnity; and contributed to the
settlement of the firefighter’s claim on behalf of Wallick, providing primary coverage until its
policy was exhausted

18. Liberty Mutual’s policy was exhausted by payment of settlement

19. National Union issued an Umbrella Prime Commercial Umbrella Liability Policy
with Crisis Response to Named Insured TCB, policy no. BE 035 38 49 80, effective from May l,
2014 to May l, 2015, with limits of insurance of $25,000,000 each occurrence This policy is not
attached due to its size, but is available upon request

20. National Union’s policy includes a Commercial General Liability Limitation
Endorsement 87043 (11/04), which excludes commercial general liability coverage unless
provided for by a policy listed in Schedule of Underlying Insurance, and provides “coverage
under this policy will follow the terms, definitions, conditions and exclusions of Scheduled
Underlying Insurance, subject to the Policy Period, Limits of Insurance, premiums and all other
terms, definitions, conditions and exclusions of this policy.. . .”

21. The Schedule of Underlying lnsurance for National Union’s Umbrella policy
includes the general liability policy referenced above issued by Liberty Mutual/Arnerican
Economy Insurance Company effective from May l, 2014 to May l, 20l5, under which Wallick
is an insured, and which provided primary coverage for Wallick until it Was exhausted by

settlement

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22. National Union’s policy also defines “insured” as “any person (other than your
employee or volunteer worker) or organization while acting as your real estate manager.”
23. Wallick is an insured under the terms of National Union’s policy.

24. National Union’s policy is a follow form policy with regard to commercial

 

 

general liability coverage provided by underlying insurance, here Liberty Mutual’s policy.

25. National Union’s policy provides that “if other valid and collectible insurance
applies to damages that are also covered by this policy, this policy will apply excess of the other
insurance.” “Other insurance”_ is defined in National Union’s policy as a valid and collectible
policy of insurance providing coverage for damages covered in whole or in part by this policy.

26. Cincinnati issued a Common Policy of insurance, policy no. CAP 512 15 44,
effective from June 24, 2014 to June 24, 2015, to Wallick Properties Midwest LLC, providing
Commercial General Liability Coverage in the amount of $1,000,000 each occurrence This
policy is not attached due to its size, but is available upon request.

27. Cincinnati’S policy covered certain properties owned and/or managed by Wallick
on a primary basis, Which properties were specifically included on a Schedule of Locations. The
premiums for the primary coverage for such properties was calculated based on the number of
apartment units in a building This Dahlgren Street apartment building which Wallick managed
for TCB Was not included on the Schedule of Locations for which primary coverage was
provided, and primary coverage was not provided for that property.

28. Cincinnati’s policy covered other properties, Which Wallick managed but Which
were owned by someone else who provided primary general liability insurance for Wallick for
the property, and for which Cincinnati’s general liability coverage then Was contingent and/or

excess The premiums for the contingent/excess coverage for such properties were calculated by

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the total management fees for all contingent/excess locations This Dahlgren Street apartment
building which Wallick managed for TCB Was one of the locations for which such
contingent/excess coverage was provided to Wallick by Cincinnati.

29. Cincinnati’s policy has a Real Estate Property Managed Endorsement, CG 22 70,

 

which provides that “With respect to your liability arising out of your management of property
for which you are acting as real estate manager this insurance is excess over any other valid and
collectible insurance available to you.”

30. The Real Estate Property Managed Endorsement appended to Cincinnati’s policy
is intended to confirm that with respect to liability arising out of Wallick’s management of
property for which Wallick is acting as a real estate manager, the policy’s CGL coverage is
excess over any other valid and collectible insurance available, whether such insurance is
primary or excess

31. The Real Estate Property Managed Endorsement in Cincinnati’s policy, which
makes the general liability coverage excess coverage, acts in conjunction with the language in a
building owner’s policies and in the standard general liability coverage forms which makes a
property manager, by definition, an insured under the building owner’s policy. This excess
provision of Wallick’s Cincinnati policy reduces the cost of liability coverage for the property
manager and allows the owner and property manager to consolidate coverage in the event of a
claim.

32. The Management Agreement entered between Wallick and TCB confirms the
intent to have Wallick, as property manager, be an insured on TCB’s policies, allowing Wallick
to make its own policy issued by Cincinnati contingent/excess thus consolidating Wallick’s

coverage with TCB’s coverage in the event of a claim.

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33. Wallick’s intent and understanding in entering the Management Agreement with
TCB and the insurance policy with Cincinnati was that TCB’s policies of insurance would apply
to and provide coverage for claims like that of the firefighter here before Wallick’s policy issued

by Cincinnati would ever be triggered

 

PRIORITY OF C()VERAGE DISPUTE -
DECLARATORY AND MONETARY RELIEF

34. As part of the settlement, National Union insisted Cincinnati pay the limits of its
policy before National Union would make any contribution to the settlement

35. As part of the settlement, Cincinnati and National Union expressly preserved the
issue of allocation and priority of insurance coverage under their insurance policies for Court
determination

36. Cincinnati seeks a judgment and determination that since Cincinnati’s coverage is
excess for real estate property management, and the policy issued by National Union provides
that it is also excess, the excess clauses in both policies are mutually repugnant, so that National
Union and Cincinnati should be responsible for a pro rata share of the settlement paid herein.

37. Cincinnati seeks a declaration and determination from the Court that Cincinnati’s
insurance policy applies pro rata With National Union’s insurance policy such that Cincinnati is
responsible for 1/26 of the amount paid in settlement on behalf of Wallick by its excess insurers
and National Union is responsible for 25/26 of that amount. Further, Cincinnati seeks
reimbursement from National Union herein of the amounts Cincinnati paid in excess of
Cincinnati’s contractual obligation

PRAYER F()R RELIEF
WHEREFORE, The Cincinnati Insurance Company asks that the Court adjudicate and

determine the rights and obligations of the parties under the Cincinnati and National Union

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policies as set forth herein; find that Cincinnati and National Union’s policies apply pro-rata; and
order National Union to reimburse Cincinnati the amounts paid in settlement which were not
owed under its policy.

Respectfully submitted,

 

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JURY DEMAND

Plaintif`f` hereby demands a trial by jury on all issues asserted herein.

/s/ Colleen l\/I. Blandford
Colleen M. Blandford

 

REOUEST FOR CERTIFIED MAIL SERVICE
TO THE CLERK:
Please serve Defendant a Summons and a copy of the Complaint for Declaratory

Judgment at the address shown on the face of this Complaint, by certified mail, return receipt
requested

/s/ Colleen M. Blandford
Colleen l\/I. Blandford

 

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